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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

RACHELMADDOX, SHANNONMADDOX,
                                                   )
                                                   )
                      Plaintiff,                   )                CryIL ACTION
                                                   t
       vs.                                         )                NO.l2-1641
                                     )
INTEGRO USA, INC., INTEGRO INSURANCE )                              SECTION ..N"
BROKERS CHRISTIAN CONGREGATION OF )
JEHOVAH'S WITNESSES, WATCHTOWER )                                   MAGTSTRATE (1)
BIBLE AND TRACT SOCIETY OF NEW YORK, )
INC., WESTWEGO CONGREGATION OF       )
JEHOVAH'SWITNESSES,INC.,PATRICK )
VICTOR, KATI{Y VICTOR                )
                                     )
                 Defendants.         )

          CHRISTIAN CONGREGATION OF JEHOVAH'S WITNESSES, INC.'S
       STATEMENT OF MATERIAL FACTS THAT PRESENT NO GENUINE ISSUE
                    AND WARRANT SUMMARY JUDGMENT

       Defendant, Christian Congregation of Jehovah's Wifinesses, Inc. ("Christian

Congregation"), pursuant to Local Rule 56.1, submits its statement of the material facts it

contends present no genuine issue, as follows.

       1.     Patsy Maddox attended the 1 July 2011 District Convention of Jehovah's

Witnesses in Mobile, Alabama ("Convention").

       2.     Patsy Maddox fell while attending the Convention.

       3.     Patsy Maddox suffered injuries when she fell at the Convention.

       4.     Patsy Maddox died after she fell at the Convention.

       5.     Christian Congregation leased the Mitchell Center at the University of South

Alabama where it provided oversight in organizing the Convention.


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                                                                                   EXHIBIT #


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       6.        Pursuant to the lease, Christian Congregation had custody and control of the

Convention premises.

       7.        Christian Congregation designated the floor and the seats immediately adjacent to

the floor of the Mitchell Center as seating for elderly and disabled attendees, and those who

traveied with them.

       8.        The Mitchell Center is a new facility built by the University of South Alabama

which met all the relevant building and safety codes for an arena in which public events would

be held, including stair and railing design and construction.

       9.        There were no defects in the stairs or railings at the Mitchell Center.

        10. There lvere no defects in the seating arrangements made by Christian
Congregation.

        I   L    Patsy Maddox had been one of Jehovah's Witnesses for decades.

        12. Patsy Maddox had attended numerous District Conventions, Circuit Assemblies,
Special Assemblies, and other large gatherings of Jehovah's Witresses.

        13. Patsy Maddox knew that seating was resewed for the elderiy and disabled on the
floor and seating adjacent to the floor of every large gathering of Jehovah's Witnesses.

        14. Patsy Maddox knew that if seating was not available for the eiderly or disabled,
those administering any particular gathering of Jehovah's Witnesses would find appropriate

seating for those in need.

        15. PatsyMaddoxwas 69yearc of ageon 1July2011.
        16. Patsy Maddox ambulated freely without assistance, did not walk with a cane, did
not limp; she had no history of falling, did not present a risk of falling, or show any outward

signs of infirmity.

        17   .   Patsy Maddox lived alone, cared for herself, and drove her own car.
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        18. Patsy Maddox knew that there was always a risk that seating would be filled on
the floor or in the seats adjacent to the floor at any gatheing of Jehovah's Witnesses once the

music started, which announced the beginning of the gathering's program and gave notice to the

attendees to take their seats.

        19. Patsy Maddox and the couple with whom she was traveling, Patick and Kathleen
Victor, arrived after the Convention music ended and the program was beginning.

        20. Patsy Maddox knew that because the music had stopped when she a:rived, those
gathered would be seated and ready to participate in the day's program of worship.

        2I.     When the attendant told her group that there was no seating available on the floor,

Patrick Victor offered to look for other seats, to take seats in the upper level where they would

have to climb stairs, or to take the group back to their motel and return the next day.

        22.     Patsy Maddox declined the options except the one to climb the stairs and take

seats in the upper level.

        23.     At the lunch break, Patsy Maddox descended and ascended the stairs to leave her

seat and return to it.

        24. Near the end of the final program, the group descended the stairs but Patsy
Maddox fell for no apparent reason; no one was touching her; she was car4ring nothing; she just

fell, which caused her injury requiring medical attention in the hospital.

        25.     No one was responsible for Patsy Maddox' choice of seating.

        26.     No one compelled Patsy Maddox to choose her seat or area in which to sit at the

Convention on i July 2011.

        27.     Patsy Maddox was not in anyone's care or keeping on i July 2011.
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       28. Patsy Maddox was a free and independent person who made her own decisions
about when and how she would attend the Convention on I July 20Il; for example, she made her

own motel reservations and had her own motel accommodations for the Convention.

       29.     Patsy Maddox displayed no mental or physical inability to ascend or descend the

steps where she fell, she simply failed to do so and suffered injuries as a result.


                                                       Respectfully submitted,

                                                       By/s/TedM. Mitchell
                                                       Ted M.  Mitchell     La.Bar No. 20964
                                                       2955 Ridgelake Drive, Suite 207
                                                       Metairie LA70002
                                                       504-236-3966 - voice
                                                       504-273-2220 -fax


                                  CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing document has been electronically filed with the
Clerk of Court using the CM/ECF system this I lm day of February 20L3 and notice of this filing
will be sent to all counsel of record by operation of the court's elecfionic filing system or by
mail.

                                                       lslTedM. Mitchell
